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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION
                                           ______

JASON DOUGLAS VERHULST,

                          Petitioner,                Case No. 1:22-cv-563
v.                                                   Honorable Ray Kent
MELINDA BRAHAM,

                          Respondent.
____________________________/

                                             ORDER

         In accordance with the opinion entered this day:

         IT IS ORDERED that Petitioner must show cause within 28 days why the petition should

not be dismissed as untimely.



Dated:     July 8, 2022                              /s/ Ray Kent
                                                      Ray Kent
                                                      United States Magistrate Judge
